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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

                                                                     )
         In re:                                                      )       Chapter 11
                                                                     )
         Zohar III, Corp., et al.,1                                  )       Case No. 18-10512 (KBO)
                                                                     )
                                              Debtors.               )       Jointly Administered
                                                                     )

                    NOTICE OF AMENDED2 AGENDA OF MATTERS SCHEDULED FOR
                         HEARING ON NOVEMBER 1, 2019 AT 11:00 A.M. (ET)

         MATTERS GOING FORWARD

         1.        Order (A) Implementing the Terms of the Settlement Agreement and (B) Resolving
                   Dispute Over Monetization Process Pursuant to Paragraph 11 of the Settlement
                   Agreement [D.I. 974; 9/27/19]

                   Related Documents:

                   A.        Notice of Appeal [D.I. 984; 10/4/19]

                   B.        Notice of Filing of Transcripts of In re: Dura Automotive Systems, LLC [D.I.
                             1036; 10/28/19]

                   Status:          The Debtors will provide a status update for the Court.

         2.        The Zohar Funds’ Motion for Entry of an Order Pursuant to Bankruptcy Rule 1014(b)
                   Determining that the Dura Debtors’ Bankruptcy Cases Should Proceed in the District of
                   Delaware [D.I. 999; 10/17/19]

                   Related Documents:

                   A.        Notice of Filing of Exhibit A (Press Release) to the Zohar Funds’ Motion for
                             Entry of an Order Pursuant to Bankruptcy Rule 1014(b) Determining that the
                             Dura Debtors’ Bankruptcy Cases Should Proceed in the District of Delaware [D.I.
                             1000; 10/17/19]

                   B.        Notice of Filing with Respect to Determination of Venue of the Dura Debtors’
                             Bankruptcy Cases [D.I. 1002; 10/17/19]
         1
           The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows:
         Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited
         (9261), Zohar II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is 3 Times
         Square, c/o FTI Consulting, Inc. New York, NY 10036.
         2
             All amendments appear in bold.
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                C.        Order Regarding Pending Determnation of Proper Venue of the Dura Debtors’
                          Chapter 11 Cases [D.I. 1003; 10/17/19]

                D.        Notice of Telephonic Status Conference [D.I. 1004; 10/17/19]

                E.        Dura Debtors’ Statement Regarding Scheduling Conference Scheduled for
                          October 21, 2019 at 2:00 p.m. (ET) [D.I. 1011; 10/21/19]

                F.        Order Setting Hearing Date and Briefing Schedule with Respect to the Zohar
                          Funds’ Motion for Entry of an Order Pursuant to Bankruptcy Rule 1014(b)
                          Determining that the Dura Debtors’ Bankruptcy Cases Should Proceed in the
                          District of Delaware [D.I. 1030; 10/24/19]

                G.        Notice of Filing of Transcripts of In re: Dura Automotive Systems, LLC [D.I.
                          1036; 10/28/19]

                Response Deadline:                     October 27, 2019 at 4:00 p.m. (ET);

                Responses Received:

                H.        Dura Debtors’ Objection the Zohar Funds’ Motion for Entry of an Order Pursuant
                          to Bankruptcy Rule 1014(b) Determining that the Dura Debtors’ Bankruptcy
                          Cases Should Proceed in the District of Delaware [D.I. 1034; 10/27/19]

                Status:          The Dura Debtors will stipulate to a transfer of venue to Delaware.
                                 The Dura Debtors and Zohar Debtors have agreed on a form of order
                                 to be presented at the hearing.


         Dated: October 31, 2019                YOUNG CONAWAY STARGATT & TAYLOR, LLP
                Wilmington, Delaware
                                                /s/ Joseph M. Barry
                                                James L. Patton, Jr. (No. 2202)
                                                Robert S. Brady (No. 2847)
                                                Michael R. Nestor (No. 3526)
                                                Joseph M. Barry (No. 4221)
                                                Ryan M. Bartley (No. 4985)
                                                Shane M. Reil (No. 6195)
                                                Rodney Square
                                                1000 North King Street
                                                Wilmington, Delaware 19801
                                                Telephone: (302) 571-6600
                                                Facsimile: (302) 571-1253

                                                Counsel to the Debtors and Debtors in Possession


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